Case 21-30085-hdh11 Doc 159 Filed 02/15/21                      Entered 02/15/21 18:18:38             Page 1 of 16



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

IN RE:                                               §                 CHAPTER 11
                                                     §
NATIONAL RIFLE ASSOCIATION                           §                 CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                         §
                                                     §
        DEBTORS1                                     §                 Jointly Administered


      GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS, AND
      DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (the “Debtors”) in these chapter 11
cases, with the assistance of their advisors, are filing their respective Schedules of Assets and
Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements” or “SOFAs”, and
together with the Schedules, the “Schedules and Statements”) with the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) pursuant to pursuant to section
521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

       These Global Notes, Methodology, Statement of Limitations, and Disclaimers Regarding the
Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (collectively, the
“Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of, each
Debtor’s Schedules and Statements. The Global Notes should be referred to, considered, and reviewed
in connection with any review of the Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor are
they intended to be fully reconciled with the financial statements of each Debtor (whether publicly
filed or otherwise). Additionally, the Schedules and Statements contain unaudited information that is
subject to further review and potential adjustment, and reflect the Debtors’ reasonable efforts to report
the assets and liabilities of each Debtor on an unconsolidated basis.

        ln preparing the Schedules and Statements, the Debtors relied upon information derived from
their books and records that was available at the time of such preparation. Although the Debtors have
made reasonable efforts to ensure the accuracy and completeness of such financial information,
inadvertent errors or omissions, as well as the discovery of conflicting, revised, or subsequent
information, may cause a material change to the Schedules and Statements.
1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The Debtors’
mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS                       PAGE 1
Case 21-30085-hdh11 Doc 159 Filed 02/15/21                 Entered 02/15/21 18:18:38       Page 2 of 16




        The Debtors and their officers, employees, agents, attorneys, and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules and
Statements and shall not be liable for any loss or injury arising out of or caused in whole or in part by
any act or omission, whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained in the Schedules and Statements.
Except as expressly required by the Bankruptcy Code, the Debtors and their officers, employees,
agents, attorneys, and financial advisors expressly do not undertake any obligation to update, modify,
revise or re-categorize the information provided in the Schedules and Statements or to notify any third
party should the information be updated, modified, revised, or re- categorized.

        David Warren has signed each of the Schedules and Statements. Mr. Warren is an authorized
signatory for the Debtors. In reviewing and signing each of the Schedules and Statements, Mr. Warren
has relied upon the efforts, statements, representations of various personnel employed by the Debtors
and their advisors. Mr. Warren has not (and could not have) personally verified the accuracy of each
such statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses. Neither the Schedules and Statements, nor the Global
Notes, should be relied upon by any persons for information relating to current or future financial
conditions, events, or performance of the Debtors.

                                               Global Notes

1.        Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The Debtors
reserve all rights to amend or supplement the Schedules and Statements from time to time, in all
respects, as may be necessary or appropriate (including, without limitation): (a) the right to amend
the Schedules and Statements with respect to a claim (“Claim”) description, designation, or Debtor
against which the Claim is asserted; (b) dispute or otherwise assert offsets or defenses to any Claim
reflected in the Schedules and Statements as to amount, liability, priority, status, or classification; (c)
subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” and/or (d) object
to the extent, validity, enforceability, priority, or avoidability of any Claim). Any failure to designate
a Claim in the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
constitute an admission by the Debtors that such Claim or amount is not “disputed,” “contingent,” or
“unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtor against
which the Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’ chapter 11
cases, including, without limitation, issues involving Claims, substantive consolidation, defenses,
equitable subordination, recharacterization, and/or causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or
avoid transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph. Notwithstanding the
foregoing, the Debtors shall not be required to update the Schedules and Statements except as may
be required by applicable law.




GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS           PAGE 2
Case 21-30085-hdh11 Doc 159 Filed 02/15/21                 Entered 02/15/21 18:18:38        Page 3 of 16



2.       Description of Chapter 11 Cases and “As of” Information Date. On January 15, 2021 (the
“Petition Date”), each of the Debtors filed a voluntary petition for relief under chapter 11 of the
Bankruptcy Code. The Debtors continue to operate their business and manage their properties as
debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors’
chapter 11 cases are being jointly administered pursuant to Bankruptcy Rule 1015(b). The Debtors’ assets and
liabilities are reported as of the Petition Date, except as otherwise noted.

3.       Net Book Value of Assets. lt would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate assets for the Debtors to obtain current market valuations for each of their
assets. Accordingly, unless otherwise indicated, the Schedules and Statements reflect the net book
value of the Debtors’ assets as of the Petition Date. Furthermore, as applicable, assets that have fully
depreciated or were expensed for accounting purposes may not be reflected in the Schedules and
Statements as they have no net book value. The Debtors reserve their right to amend or adjust the value
of each asset or liability set forth in the Schedules and Statements.

4.       Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly
characterize, classify, categorize, or designate certain Claims, assets, executory contracts, unexpired
leases, postemployment benefits, and other items reported in the Schedules and Statements, the
Debtors may, nevertheless, have improperly characterized, classified, categorized, designated, or
omitted certain items. Accordingly, the Debtors reserve all of their rights to recharacterize, reclassify,
re-categorize, re-designate, add, or delete items reported in the Schedules and Statements at a later
time as is necessary or appropriate as additional information becomes available, including, without
limitation, whether contracts or leases listed herein were deemed executory or unexpired as of the
Petition Date and remain executory and unexpired post-petition. Disclosure of information in one or
more Schedules, one or more Statement questions, or one or more exhibits or attachments to the
Schedules and Statements, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedules, Statements, exhibits, or attachments.

5.       Liabilities. The Debtors have sought to allocate assets and liabilities between the prepetition
and post-petition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and further
research is conducted, the allocation of liabilities between the prepetition and post-petition periods
may change. Accordingly, each Debtor reserves all rights to amend, supplement, or otherwise modify
its Schedules and Statements as is necessary or appropriate.

       The liabilities listed on the Schedules do not reflect any analysis of Claims under Bankruptcy
Code section 503(b)(9). Accordingly, the Debtors reserve all of their rights to dispute or challenge
the validity of any asserted Claims under Bankruptcy Code section 503(b)(9) or the characterization
of the structure of any such transaction or any document or instrument related to any creditor’s Claim.

6.      Insiders. For the purposes of the Schedules and Statements, the Debtors defined “insider”
pursuant to Bankruptcy Code section 101(31) as: (a) directors; (b) officers; (c) persons in control of
the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in control of the Debtors; and
(e) debtor/non-debtor affiliates of the foregoing. The parties identified as “insiders” have been


GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS            PAGE 3
Case 21-30085-hdh11 Doc 159 Filed 02/15/21                 Entered 02/15/21 18:18:38       Page 4 of 16



included for informational purposes only and the inclusion of them in the Schedules and Statements
shall not constitute an admission that those persons are insiders for purposes of Bankruptcy Code
section 101(31). The Debtors do not take any position with respect to: (a) such person’s influence
over the control of the Debtors; (b) the management responsibilities or functions of such individual; (c)
the decision-making or corporate authority of such individual; or (d) whether such individual could
successfully argue that he or she is not an “insider” under applicable law, including, without limitation,
the federal securities laws or with respect to any theories of liability or for any other purpose.

7.       Intellectual Property Rights. The exclusion of any intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned, terminated,
assigned, expired by their terms, or otherwise transferred pursuant to a sale, acquisition, or other
transaction. Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all such intellectual property rights.

8.       Executory Contracts and Unexpired Leases. Although the Debtors have made diligent
attempts to identify contracts and unexpired leases within the scope of Bankruptcy Code section 365,
in certain instances, the Debtors may have inadvertently failed to do so. Accordingly, the Debtors
reserve all of their rights with respect to the inclusion or exclusion of executory contracts and
unexpired leases, including the right to amend Schedule G at any time during the pendency of these
chapter 11 cases.

         Listing a contract or agreement on Schedule G does not constitute an admission that such
contract or agreement is an executory contract or unexpired lease. The Debtors reserve all rights to
challenge whether any of the listed contracts, leases, agreements or other documents constitute an
executory contract or unexpired lease, including if any are unexpired non-residential real property
leases. Any and all of the Debtors’ rights, claims, causes of action and defenses with respect to the
contracts and agreements listed on Schedule G are hereby reserved and preserved.

9.      Classification. Listing a Claim, contract or lease on (a) Schedule D as “secured,”
(b) Schedule E/F, Part 1 as “priority unsecured,” (c) Schedule E/F, Part 2 as “Non-priority
unsecured,” or (d) Schedule G as “executory” or “unexpired,” does not constitute an admission by the
Debtors of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
reclassify such Claims or contracts or leases or to setoff against such Claims.

10.       Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
“disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the Schedules and
Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by any
Debtor that such amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim is not
subject to objection. The Debtors reserve all of their rights to dispute, or assert offsets or defenses to,
any Claim reflected on their Schedules and Statements on any grounds, including liability or
classification. Additionally, the Debtors expressly reserve all of their rights to subsequently designate
such Claims as “disputed,” “contingent” or “unliquidated.” Moreover, listing a Claim does not
constitute an admission of liability by the Debtor.




GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS           PAGE 4
Case 21-30085-hdh11 Doc 159 Filed 02/15/21                 Entered 02/15/21 18:18:38       Page 5 of 16



11.       Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
may not have listed all of their causes of action or potential causes of action against third parties
(collectively, “Causes of Action”) as assets in the Schedules and Statements, including, without
limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any
other relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of
their rights with respect to any: (a) cause of action (including avoidance actions), (b) controversy, (c)
right of setoff, (d) cross-claim, (e) counterclaim, (d) recoupment, and (e) any Claim on contracts or
for breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity, guaranty,
suit, obligation, liability, damage, judgment, account, defense, power, privilege, license, and
franchise of any kind or character whatsoever, known, unknown, fixed or contingent, matured or
unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law, or in equity, or pursuant to any other theory of law they may have, and
neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any Claims
or Causes of Action or in any way prejudice or impair the assertion of such Claims or Causes of Action.

12.      Summary of Significant Reporting Policies. The following is a summary of significant
reporting policies:

        a.      Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
                “undetermined,” or similar indication is not intended to reflect upon the materiality of
                such amount.

        b.      Totals. All totals that are included in the Schedules and Statements represent totals of
                all known amounts. To the extent there are unknown or undetermined amounts, the
                actual total may be different than the listed total.

        c.      Liens. The value of assets listed in the Schedules and Statements are presented without
                consideration of any liens that may attach (or have attached) to such property and
                equipment.

13.      Currency. All amounts are reflected in U.S. dollars unless otherwise indicated.

14.     Global Notes Control. ln the event that the Schedules or Statements differ from any of the
foregoing Global Notes, the Global Notes shall control.

                            Specific Notes for Certain Items on Schedules

1.      Schedule A/B, Part 1. Cash and Cash Equivalents. The Schedules and Statements reflect
both cash assets without donor restrictions, representing resources that are not restricted by donor-
imposed stipulations and are available for support of general operations, and net cash assets with donor
restrictions, representing contributions and other inflows of assets whose use are limited by donor-
imposed stipulations. Of the total cash listed by the Debtors, $26,729,029.87 are restricted.




GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS           PAGE 5
Case 21-30085-hdh11 Doc 159 Filed 02/15/21                 Entered 02/15/21 18:18:38       Page 6 of 16



2.      Schedule A/B, Part 3. Accounts Receivable. Scheduled accounts receivable includes
membership dues payable over time, donor pledges and other receivables. Therefore, the amount of
collectible receivables could be lower than projected depending upon the circumstances.

3.      Schedule A/B Part 4. Of the total investments, $13,116,480.67 are restricted.

4.     Schedule A/B Part 5. The inventory has not been appraised. It is listed at book value. The actual
value may be different.

5.      Schedule A/B Part 9. The current value of the headquarters is based upon a January 2019 appraisal,
so the current value could be different.

Dated: February 15, 2021.

                                                 Respectfully submitted,

                                                 /s/ Patrick J. Neligan, Jr.
                                                 Patrick J. Neligan, Jr.
                                                 State Bar. No. 14866000
                                                 Douglas J. Buncher
                                                 State Bar No. 03342700
                                                 John D. Gaither
                                                 State Bar No. 24055516
                                                 NELIGAN, LLP
                                                 325 North St. Paul, Suite 3600
                                                 Dallas, Texas 75201
                                                 Telephone: 214-840-5333
                                                 Facsimile: 214-840-5301
                                                 pneligan@neliganlaw.com
                                                 dbuncher@neliganlaw.com
                                                 jgaither@neliganlaw.com

                                                 PROPOSED COUNSEL FOR DEBTORS




GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS           PAGE 6
         Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                            Entered 02/15/21 18:18:38          Page 7 of 16




 Fill in this information to identify the case:

 Debtor name         Sea Girt LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30080
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 15, 2021                       X /s/ David Warren
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Warren
                                                                       Printed name

                                                                       Chief Financial Officer - For Profit Entities
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
           Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                                                     Entered 02/15/21 18:18:38                                  Page 8 of 16

 Fill in this information to identify the case:

 Debtor name            Sea Girt LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               21-30080
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            49,985.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $            49,985.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               1,683.69

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$                391.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $                2,074.69




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
           Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                  Entered 02/15/21 18:18:38                    Page 9 of 16

 Fill in this information to identify the case:

 Debtor name          Sea Girt LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30080
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Bankcorp South                                         Checking Account                 0905                                  $49,985.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $49,985.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
        Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                    Entered 02/15/21 18:18:38           Page 10 of 16

 Debtor         Sea Girt LLC                                                                 Case number (If known) 21-30080
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
         Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                                       Entered 02/15/21 18:18:38                      Page 11 of 16

 Debtor          Sea Girt LLC                                                                                        Case number (If known) 21-30080
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $49,985.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $49,985.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $49,985.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
        Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                 Entered 02/15/21 18:18:38                 Page 12 of 16

 Fill in this information to identify the case:

 Debtor name         Sea Girt LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30080
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
         Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                                 Entered 02/15/21 18:18:38                              Page 13 of 16

 Fill in this information to identify the case:

 Debtor name         Sea Girt LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          21-30080
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,683.69     $1,683.69
           Franchise Tax Board                                       Check all that apply.
           P.O. Box 2952                                              Contingent
           Sacramento, CA 95812-2952                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           12/31/2020
           Last 4 digits of account number 8450                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $391.00
           Vanessa Shahidi                                                          Contingent
           11250 Waples Mill Road                                                   Unliquidated
           Fairfax, VA 22030                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                          On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                             related creditor (if any) listed?                  account number, if
                                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                   29508                                            Best Case Bankruptcy
        Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                        Entered 02/15/21 18:18:38                        Page 14 of 16

 Debtor       Sea Girt LLC                                                                       Case number (if known)        21-30080
              Name

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                       1,683.69
 5b. Total claims from Part 2                                                                       5b.   +   $                         391.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                            2,074.69




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
         Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                 Entered 02/15/21 18:18:38                       Page 15 of 16

 Fill in this information to identify the case:

 Debtor name         Sea Girt LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30080
                                                                                                                                 Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
          Case 21-30085-hdh11 Doc 159 Filed 02/15/21                                Entered 02/15/21 18:18:38               Page 16 of 16

 Fill in this information to identify the case:

 Debtor name         Sea Girt LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30080
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
